Case 2:22-cr-00047-AWA-LRL Document 36 Filed 07/27/22 Page 1 of 4 PageID# 89




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                           Norfolk Division

UNITED STATES OF AMERICA                                )
                                                        )
                        v.                              )       Criminal No. 2:22-cr-47
                                                        )
PATRICK TATE ADAMIAK,                                   )
                                                        )
                         Defendant.                     )


 GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE AN IGNORANCE OF THE
                         LAW DEFENSE

        The United States of America, by Jessica D. Aber, United States Attorney, William D.

Muhr, Assistant United States Attorney, and Victoria Liu, Special Assistant United States

Attorney, moves this Court to preclude an ignorance of the law defense from the defendant

ADAMIAK under Bryan v. United States, 524 U.S. 184 (1998) and United States v. Mitchell,

209 F.3d 319 (4th Cir. 2000).

        Based on statements made by the defense, the United States has a reasonable belief that the

defendant may attempt an ignorance of the law defense. For example, arguing that the defendant did

not know it was unlawful to possess or transfer an unregistered machine gun and destructive device

and thought that it was a lawful activity as a collector and gun enthusiast to possess these types of

firearms and destructive devices and to transfer them to other gun enthusiast and collectors.

Although ADAMIAK’s knowledge regarding the facts and characteristics of the weapons must be

proved beyond a reasonable doubt, any defense that ADAMIAK was ignorant of the applicable laws

regulating his possession and sale of these firearms and destructive devices is impermissible.
Case 2:22-cr-00047-AWA-LRL Document 36 Filed 07/27/22 Page 2 of 4 PageID# 90




                             ARGUMENTS AND AUTHORITIES

       In Bryan v. United States, the Supreme Court defined “knowingly” within 18 U.S.C. §

924’s penalty provisions. See Bryan, 524 U.S. at 191–92 (explaining petitioner’s argument

regarding Congress’s specific use of adverbs).    The Court found that the term “knowingly”

“does not necessarily have any reference to a culpable state of mind or to knowledge of the law,”

but rather refers to “factual knowledge as distinguished from knowledge of the law.” Id. at 192

(emphasis added). The Court explained that in Staples v. United States, 511 U.S. 600 (1994), the

Court had previously held that the defendant’s possession of an unregistered machinegun

required proof that he knew that the weapon he possessed had the characteristics that brought it

within the statutory definition of a machinegun, but that it was not necessary to prove that the

defendant knew that his possession was unlawful. See id. (limiting the adverb “knowingly” to

knowledge of the facts that constitute the offense).

       The Fourth Circuit, in applying the Bryan Court’s analysis, has found that the analysis

also applies to section 924(a)(2), a “sister provision” of section 924(a)(1)(B) with identical mens

rea language. United States v. Mitchell, 209 F.3d at 321. Thus, the Fourth Circuit concluded that

a defendant’s mere knowledge of possession is a sufficient factual basis for a conviction. See id.

(rejecting the petitioner’s contention that the government was required to prove that the

petitioner knew that possessing a firearm was illegal).

       In the instant case, ADAMIAK is charged in a superseding indictment with knowingly

possessing and transferring an unregistered machinegun and knowingly receiving and possessing

four unregistered destructive devices. As illustrated in the case law, no carve-out provision

imposes additional knowledge of the law for violations of any of these statutes. The government


                                                 2
Case 2:22-cr-00047-AWA-LRL Document 36 Filed 07/27/22 Page 3 of 4 PageID# 91




therefore need not prove whether ADAMIAK knew that federal law prohibited such possession;

rather, the mere knowledge of his possession of these weapons is sufficient. ADAMIAK cannot

then use ignorance of the law as a defense to his knowing possession.

                                          CONCLUSION

       Accordingly, the United States respectfully requests that the Court instruct the defendant

prior to the start of trial that an ignorance of the law defense is not a lawful or permissible

defense.


                                               Respectfully submitted,

                                               Jessica D. Aber
                                               Acting United States Attorney

                                       By:                              /s/___________________
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                                               Special Assistant United States Attorney
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                                                  3
Case 2:22-cr-00047-AWA-LRL Document 36 Filed 07/27/22 Page 4 of 4 PageID# 92




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of July 2022, we electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to all counsel of record.


                                              ___         /s/       _ _____
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